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                        UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF FLORIDA
                              TAMPA DIVISION

HEALTH FREEDOM DEFENSE FUND,
INC., a Wyoming Not-for-Profit                  Case No. _________________
Corporation, ANA CAROLINA DAZA,
and SARAH POPE, individuals,                    COMPLAINT FOR
                                                DECLARATORY RELIEF
      Plaintiffs,
                                                DEMAND FOR JURY TRIAL
vs.

JOSEPH R. BIDEN, JR., President of the
United States; XAVIER BECERRA,
Secretary of Health and Human Services, in
his official capacity; THE DEPARTMENT
OF HEALTH AND HUMAN SERVICES;
THE CENTERS FOR DISEASE CONTROL;
ROCHELLE P. WALENSKY, MD, MPH,
Director of the Centers for Disease Control
and Prevention, in her official capacity; and
MARTIN S. CETRON, MD, Director,
Division of Global Migration and
Quarantine, Centers for Disease Control
and Prevention, in his official capacity; The
UNITED STATES OF AMERICA,

      Defendants.




      Plaintiffs, Health Freedom Defense Fund, Inc. (“HFDF”), Ana Carolina Daza,

and Sarah Pope, by and through their undersigned counsel, sue Defendants, Joseph

R. Biden, Jr., in his official capacity as the President of the United States of America,

Xavier Becerra in his official capacity as Secretary of the Department of Health and

Human Services, The Department of Health and Human Services (“HHS”), The

Centers for Disease Control (“CDC”), Rochelle P. Walensky, MD MPH, in her
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official capacity as the Director of the CDC, Martin S. Cetron, MD, in his official

capacity as the Director of the CDC’s Division of Global Migration and Quarantine,

and The United States of America, and allege as follows:

                                INTRODUCTION

      1.    Plaintiffs challenge the validity of Executive Order Number 13998

issued by Defendant Biden on January 21, 2021 entitled Executive Order on

Promoting COVID-19 Safety in Domestic and International Travel (the “Executive

Order”), 86 Fed. Reg. 7205, a true and correct copy of which is attached hereto as

Exhibit A, and the subsequent order issued by the CDC, a department of HHS, on

January 29, 2021, entitled, “Requirement for Persons to Wear Masks While on

Conveyances and at Transportation Hubs” (the “Mask Mandate”), 86 Fed. Reg. 8025,

a true and correct copy of which is attached hereto as Exhibit B.

      2.    The Executive Order, in pertinent part, directs all relevant federal

agencies to take action to require that masks be worn on all forms of public

transportation in accordance with CDC guidelines.

      3.    Shortly thereafter, the CDC issued the Mask Mandate, pursuant to 42

U.S.C. § 264(a) and 42 C.F.R. §§ 70.2, 71.31(b), and 71.32(b), without allowing

comments under the Administrative Procedure Act.

      4.    The Mask Mandate requires that, when traveling on conveyances and

at transportation hubs, all persons (with limited exceptions) must wear masks. The


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Mask Mandate also requires conveyance operators and hub operators to make sure

that all passengers are wearing masks, except in very limited circumstances.

      5.     Plaintiffs challenge the Mask Mandate pursuant to 5 U.S.C. § 706(2) of

the Administrative Procedure Act (the “APA”) on grounds that it:

             a. is not in accordance with and exceeds the CDC’s statutory and

                regulatory authority under 42 U.S.C. § 264(a) and 42 C.F.R. §§ 70.2,

                71.31(b), and 71.32(b);

             b. is a rule that was enacted without observance of notice and comment

                procedures required by the APA; and/or

             c. is arbitrary and capricious, in that it exempts children under age 2

                without regard to scientific evidence of the impact of prolonged

                mask use on persons of all ages.

      6.     Alternatively, if the Mask Mandate does not exceed Defendants’

statutory and regulatory authority, then 42 U.S.C. § 264(a) constitutes an unlawful

delegation of legislative authority.

      7.     As well, Plaintiffs challenge the Executive Order on grounds that it

constitutes an improper exercise of legislative authority by the Executive Branch,

and that it further improperly asserts a general police power that has traditionally

been relegated to the States, in derogation of the Separation of Powers under the

United States Constitution.


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                                        PARTIES

       8.       Plaintiff Health Freedom Defense Fund (hereinafter, “HFDF”) is a not-

for-profit public benefit Wyoming corporation with its headquarters in Sandpoint,

Idaho. HFDF is a member organization that seeks to advocate for and educate the

public on the topics of medical choice, bodily autonomy, and self-determination, and

that opposes laws and regulations that force individuals to submit to the

administration of medical products, procedures, and devices against their will.

       9.       Plaintiff Ana Carolina Daza is domiciled in Pinellas County, Florida and

is sui juris.

       10.      Plaintiff Sarah Pope is domiciled in Hillsborough County, Florida and

is sui juris.

       11.      Plaintiffs Daza and Pope are referred to herein as the “Individual

Plaintiffs”.

       12.      Allegations regarding “Plaintiffs” hereinbelow shall be deemed to

include the Individual Plaintiffs and Plaintiff HFDF.

       13.      Defendant Biden is the President of the United States and is sued in

his official capacity only.

       14.      Defendant The United States of America is sued herein under 5 U.S.C.

§§ 702–03 and 28 U.S.C. § 1346.

       15.      Defendant the Centers for Disease Control and Prevention (“CDC”)


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issued and is implementing the Mask Mandate, 86 Fed. Reg. 8025. See Ex. B. The

CDC is a component of Defendant the Department of Health & Human Services

(“HHS”).

      16.    Defendant Becerra is the Secretary of HHS, and is sued in his official

capacity.

      17.    Defendant Walensky is the Director of the Centers for Disease Control

and Prevention and is sued in her official capacity.

      18.    Defendant Cetron is the Director of the CDC’s Division of Global

Migration and Quarantine and is sued in his official capacity.

                          JURISDICTION AND VENUE

      19.    This Court has subject matter jurisdiction over this action pursuant to

28 U.S.C. § 1331, 28 U.S.C. § 1346, and 5 U.S.C. §§ 702-03.

      20.    Venue is proper in this Court under 28 U.S.C. § 1391(b)(2) and (e)(1). A

substantial part of the events giving rise to this claim occurred and continue to occur

in this District, the Individual Plaintiffs and declarants in support of Plaintiff HFDF

all reside within the Middle District and within this Division, and each Defendant is

an officer of the United States sued in his or her official capacity, or an agency of the

United States, or the United States.

      21.    This Court has the authority to grant the relief requested herein

pursuant to 5 U.S.C. § 706 and 28 U.S.C. §§ 2201-02.


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                       FACTS COMMON TO ALL COUNTS

      22.    Upon taking office on January 20, 2021, President Biden issued a series

of executive orders addressing the COVID-19 pandemic. President Biden issued the

subject Executive Order on his second day in office, January 21, 2021. See Exhibit A.

      23.    The Executive Order mandates the wearing of masks on modes of

transportation, including “(i) airports; (ii) commercial aircraft; (iii) trains; (iv) public

maritime vessels, including ferries; (v) intercity bus services; and (vi) all forms of

public transportation as defined in section 5302 of title 49, United States Code.” Id.;

86 Fed. Reg. 7205.

      24.    The Executive Order cites no statutory authority to support its broad,

sweeping mandate, and does not expressly refer to any national emergency.

      25.    Pursuant to the directive of the Executive Order, Defendant Cetron,

acting on behalf of CDC in his official capacity and with the approval of Defendants

HHS, Becerra, and Walensky, issued the Mask Mandate on January 29, 2021, just

eight days after the Executive Order. See Exhibit B. The Mask Mandate took effect

at 11:59 p.m. on February 1, 2021.

      26.    Specifically, the Mask Mandate in part requires conveyance operators

(and operators of transportation hubs) to use their best efforts to ensure that “any

person on the conveyance wears a mask when board, disembarking, and for the

duration of travel.” 86 Fed. Reg. at 8026. Those best efforts include, inter alia,


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“instructing persons that Federal law requires wearing a mask on the conveyance and

failure to comply constitutes a violation of Federal law.” Id. (emphasis added).

      27.    The latter directive constitutes an outright fabrication, as no such

“Federal law” exists.

      28.    The Mask Mandate cites as its statutory authority 42 U.S.C. 264(a), and

as regulatory authority 42 C.F.R. §§ 70.2, 71.31(b), and 71.32(b). As further discussed

below, none of those authorities provides a legal basis for the Mask Mandate.

      29.    From January 30, 2020, when the World Health Organization declared

a “public health emergency of international concern” over the global outbreak of

COVID-19, until the date of the Executive Order (a period of nearly one year), the

United States government took no action to mandate the wearing of masks on travel

conveyances.

      30.    Nevertheless, the Mask Mandate provides that it “is not a rule within

the meaning of” the APA, “but is rather an emergency action taken under the

existing authority of 42 U.S.C. 264(a) and 42 CFR 70.2, 71.31(b), 71.32(b).” 86 Fed.

Reg. 8030.

      31.    The Mask Mandate further provides that, even if a court determines that

it qualifies as a rule under the APA:

             notice and comment and a delay in effective date are not
             required because there is good cause to dispense with prior
             public notice and comment and the opportunity to


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             comment on this Order and the delay in effective date.
             Considering the public health emergency caused by
             COVID-19, it would be impracticable and contrary to the
             public’s health, and by extension the public’s interest, to
             delay the issuance and effective date of this Order.”

Id.

      32.    Thus, even though the CDC had taken no action to publish any rule or

other agency action of this sort for nearly an entire year since the COVID-19 pandemic

was declared as a public health emergency, Defendants sought to justify bypassing

the normal rule-making procedures required by the APA – thus claiming a sweeping

police power over every person seeking to board a public conveyance or even enter

a transportation hub - by calling it an emergency.

      33.    As a consequence, Defendants require every person who enters a

transportation hub or public conveyance in the United States, and every person

onboard a conveyance arriving at or departing from a U.S. port of entry, to wear, at

all times and with limited exceptions, a face-covering that covers the nose and

mouth.

      34.    The practical result is that a traveler must wear a mask for hours, with

very little respite except when actively eating or drinking. A typical transcontinental

flight, for example, lasts for approximately five hours or more. The additional time

spent entering an airport, checking in, clearing security, waiting for departure,

deplaning, and retrieving luggage easily increases the time spent wearing a mask to


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at least seven hours or more. Non-direct flights that require a connection can add at

least one to three hours to that total. A person flying non-direct from Tampa to San

Francisco, for example, could easily end up having to spend ten hours or more

wearing a mask.

        35.    The potential adverse health effects from this cannot be casually

dismissed. Even healthcare workers who are trained in the use of masks have been

susceptible to adverse effects from prolonged mask use during the COVID-19

pandemic:

               Headaches related to prolonged mask use can be attributed
               to mechanical factors, hypercapnia, and hypoxemia. Tight
               straps and pressure on superficial facial and cervical nerves
               are mechanical features causing headaches. Cervical neck
               strain from donning PPE, sleep deprivation, irregular
               mealtimes, and emotional stress are other sources of
               headaches among healthcare professionals during
               prolonged mask use. Tight fitting masks cause inadequate
               ventilation and increased levels of carbon dioxide (CO2)
               known as hypercapnia. As CO2 is a known respiratory
               stimulant, a buildup of exhaled CO2 between the mask and
               face will cause increased lung ventilation and respiratory
               activity. Symptoms of hypoxemia such as chest discomfort
               and tachypnea are also noted in healthcare professionals
               with prolonged mask use. Exhaled CO2 builds up between
               the mask and face, and increased levels of CO2 cause
               confusion, impaired cognition, and disorientation. 1


1      See Adverse Effects of Prolonged Mask Use among Healthcare Professionals during
COVID-19 (Journal of Infectious Diseases and Epidemiology), available at
https://clinmedjournals.org/articles/jide/journal-of-infectious-diseases-and-epidemiology-jide-
6-130.php?jid=jide (last viewed on July 10, 2021) (footnotes omitted). See also Does Wearing a Face
Mask During the COVID-19 Pandemic Increase the Incidence of Dermatological Conditions in
Healthcare Workers? Narrative Literature Review (National Library of Medicine), available at

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         36.   Among the limited exemptions to the Mask Mandate are children under

the age of 2 years. Defendants provide no epidemiological basis for this arbitrary

cut-off age, and offer no discussion of the impact of prolonged mask-wearing on

children of all ages, let alone adults.

         37.   By comparison, the WHO takes the position that children age 5 and

under should not be required to wear masks at all, and that the use of masks for

children aged 6 to 11 should be only under limited circumstances. 2 Recent evidence

indicates that even short-term mask-wearing in children of all ages causes them to

incur unacceptably high concentrations of CO2 in their blood. 3                    Defendants’

selection of age 2 as the cut-off for an age exemption is thus completely arbitrary.

         38.   More broadly, the Federal Food and Drug Administration’s position on

the efficacy of masks in preventing the spread of COVID-19 for people of all ages

has been equivocal. On the FDA’s website regarding face masks, surgical masks,



https://pubmed.ncbi.nlm.nih.gov/34028470/ (last viewed in July 10, 2021).

2      See https://www.who.int/news-room/q-a-detail/q-a-children-and-masks-related-to-
covid-19 (last viewed on July 7, 2021).

3       A recently-published study of the effects of masks on children in Germany showed that,
after only three minutes of breathing with a mask, children of ages ranging from 6 to 17 years
accumulated CO2 levels that far exceeded acceptable levels established by the German
government. See Experimental Assessment of Carbon Dioxide Content in Inhaled Air With or
Without Face Masks in Health Children (JAMA Pediatrics June 30, 2021), available at
https://jamanetwork.com/journals/jamapediatrics/fullarticle/2781743?appId=scweb (last
viewed on July 7, 2021).



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and respirators, it states that “[m]asks may help prevent people who have COVID-

19 from spreading the virus to others. . . . Wearing a face mask may limit exposure

to respiratory droplets and large particles and may help prevent people who have

COVID-19 from spreading the virus.” 4 (emphasis added).

         39.    In its umbrella Emergency Use Authorization (“EUA”) for face masks

to be used by the general public in response to COVID-19, the FDA recites that “the

authorized face masks may be effective as source control to help prevent the spread

of” COVID-19. See EUA dated April 24, 2020, attached hereto as Exhibit “C”, at 3

(emphasis added).           But even here, the FDA hedges its bet by prohibiting

manufacturers of non-surgical masks from labeling their product:

                in such a manner that would misrepresent the product’s
                intended use; for example, the labeling must not state or
                imply that the product is intended for antimicrobial or
                antiviral protection or related uses or is for use such as
                infection prevention or reduction.

Id. at 4.

         40.    To make things more confusing, the FDA has revoked its EUAs for non-

NIOSH 5-approved respirator masks – i.e., the kn95 masks that became widely



4      See https://www.fda.gov/medical-devices/coronavirus-covid-19-and-medical-
devices/face-masks-including-surgical-masks-and-respirators-covid-
19#:~:text=Source%20control%20refers%20to%20use,spread%20of%20respiratory%20secretions
(updated on June 30, 2021).

5        National Institute for Occupational Safety and Health.



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available and are often used by members of the public. 6 Even a well-informed

consumer would find it difficult, if not impossible, to understand what types and

brands of face masks have been authorized or approved, and for what purposes they

can or should be used and, most significantly, which – if any – are regarded as safe

to use for extended periods of time by the National Institute for Occupational Safety

and Health. The Mask Mandate shows no indication that these concerns were

considered and, if so, whether they were accorded any weight.

         41.   In addition to safety concerns, there are substantial reasons to doubt

the efficacy of masks for controlling virus spread. A study published in the

Emerging Infectious Disease Journal in May 2020 found that ten randomized

controlled trials of the use of face masks to control the influenza virus, which is

essentially the same size as the SARS-CoV-2 virus, showed no significant

reduction in influenza transmission. 7

         42.   Similarly, as study of nearly two thousand United States Marine Corp

recruits published in the New England Journal of Medicine in November 11, 2020,



6      See https://www.fda.gov/medical-devices/emergency-use-authorizations-medical-
devices/revoked-euas-non-niosh-approved-disposable-filtering-facepiece-respirators#china (last
viewed on July 8, 2021).

7       See Nonpharmaceutical Measures for Pandemic Influenza in Nonhealthcare Settings—
Personal Protective and Environmental Measures - Volume 26, Number 5—May 2020 - Emerging
Infectious Diseases journal - CDC, available at https://wwwnc.cdc.gov/eid/article/26/5/19-
0994_article (last viewed on July 8, 2021).



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indicated that masks did not reduce or prevent the spread of SARS-CoV-2. 8

         43.   As recently as December 2020, two months before the Mask Mandate

was issued, the WHO announced:

               At present, there is only limited and inconsistent scientific
               evidence to support the effectiveness of masking of
               healthy people in the community to prevent infection
               with respiratory viruses, including SARS-CoV-2. A large
               randomized community-based trial in which 4862
               healthy participants were divided into a group wearing
               medical/surgical masks and a control group found no
               difference in infection with SARS-CoV-2. 9

         44.   Cloth masks, such as those generally used by the public, are

particularly problematic according to a randomized controlled trial conducted

with regard to the influenza virus in 2015. The study concluded that due to

moisture retention, reuse of cloth masks and poor filtration, cloth masks may

result in increased risk of infection. 10

         45.   Thus, the FDA – the very agency charged with researching and

understanding the efficacy of medical devices – has never been able to state whether



8      See SARS-CoV-2 Transmission among Marine Recruits during Quarantine | NEJM,
available at https://www.nejm.org/doi/full/10.1056/NEJMoa2029717 (last viewed on July 8,
2021).

9     World Health Organization, Mask use in the context of COVID-19. Geneva, Switzerland, 1
December, 2020, available at https://apps.who.int/iris/bitstream/handle/10665/337199/WHO-
2019-nCov-IPC_Masks-2020.5-eng.pdf?sequence=1&isAllowed=y (last viewed on July 9, 2021).

10    See A cluster randomised trial of cloth masks compared with medical masks in healthcare
workers - PubMed (nih.gov), available at https://pubmed.ncbi.nlm.nih.gov/25903751/ (last
viewed on July 8, 2021).

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the kinds of face masks being used by the general public provide any benefit for

preventing the spread of a virus such as COVID-19.

      46.     Yet, with the stroke of a pen, Defendants imposed their sweeping

Executive Order and Mask Mandate on nearly every traveler in the country.

            Plaintiffs’ Standing to Seek Declaratory and Injunctive Relief

      47.     As alleged above, Plaintiff HFDF is a not-for-profit, membership

organization that seeks to advocate for and educate the public on the topics of

medical choice, bodily autonomy, and self-determination, and that opposes laws

and regulations that force individuals to submit to the administration of medical

products, procedures, and devices against their will. Several of HFDF’s members

travel, or wish to travel, on interstate conveyances as defined by the Mask Mandate,

are domiciled in the Middle District of Florida, Tampa Division, and are directly

affected by the Mask Mandate, as more fully set out in the Declarations attached

hereto and made a part hereof as Composite Exhibit “D”.            HFDF’s members

therefore would have standing in their own right to bring the causes of action

asserted by HFDF.

      48.     The interests at stake in this case are germane to HFDF’s purpose, and

neither the claims asserted nor the relief requested by HFDF require the individual

participation of HFDF’s members. HFDF therefore has standing to bring this case

on behalf of its members, which presents a justiciable issue for the Court.


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      49.   Plaintiff Ana Carolina Daza resides in Pinellas County.         She has

traditionally flown annually to visit family and to attend to family property in

Colombia, and is subject to the mask mandate. Because of international travel

restrictions instituted as a result of the COVID pandemic and the resulting, multiple

flight cancellations, Ms. Daza has not flown since February 2020. However, she is

planning to travel to see her family in Colombia in August 2021. She understands

that she will be required to wear a mask on the flight, but strenuously objects to

being required to do so. Ms. Daza suffers from anxiety when wearing a mask, feels

like she cannot breathe, and suffers from an overwhelming urge to remove the mask.

She also gets headaches and suffers shortness of breath when wearing a mask – i.e.,

the very same symptoms that have been found to affect healthcare workers due to

prolonged mask use (see supra, ¶35 & fn. 1). Her physician has diagnosed her as

having anxiety and has provided a note, but her disability does not qualify her for a

disability exemption under the Mask Mandate.

      50.   Plaintiff Sarah Pope resides in Hillsborough County. She still regularly

flies to Virginia to see her elderly mother, and wears a mask when required to do so,

but she now avoids long-haul flights because cannot tolerate wearing a mask for

extended periods of time. She had to forego joining her family on a trip to Hawaii

because the thought of wearing a mask for such a long flight gave her anxiety, and

she is concerned about having panic attacks if she attempts to do so. She thus


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strongly objects to the Mask Mandate, and wants to see it lifted so that she might

have an opportunity to join her family on a long-haul flight, again.

      51.    Plaintiffs thus have Article III standing to bring this lawsuit, as their

dispute is concrete and not conjectural or hypothetical. Their injuries are fairly

traceable to the Executive Order and the Mask Mandate, and are redressable by this

Court.

      52.    To the extent applicable, Plaintiffs have statutory standing under the

Administrative Procedure Act, 5 U.S.C. § 706, because their claims at least arguably

fall within the zone of interests implicated by the statutory violations asserted

herein.

      53.    Plaintiffs have no adequate remedy at law for the ongoing violations

and usurpations of constitutional and statutory authority alleged herein.

      54.    All conditions precedent to bringing this lawsuit have been performed,

excused, or waived.

                                     COUNT I

                         Agency action not in accordance
                        with law and in excess of authority

                               (Violation of the APA)

      55.    Plaintiffs incorporate the allegations of paragraphs 1 through 54, and

further allege:




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       56.     Under the APA, a court must “hold unlawful and set aside agency

action” that is “in excess of statutory . . . authority, or limitations, or short of statutory

right.” 5 U.S.C. § 706(2)(C).

       57.     The Mask Mandate purports to derive its statutory and regulatory

authority from 42 U.S.C. § 264(a) and 42 C.F.R. §§ 70.2, 71.31(b), and 71.32(b). Ex. B.

       58.     The Mask Mandate exceeds that authority in several ways.

       59.     First, neither 42 U.S.C. § 264, nor 42 C.F.R. § 70.2, nor 42 C.F.R. §§

71.31(b) or 71.32(b) authorizes the CDC to institute such a broad sweeping mandate

requiring every person who travels on a public conveyance to don some type of

garment or device. To hold otherwise would be “tantamount to creating a general

police power.” Skyworks, Ltd. v. CDC, Case No. 5:20-cv-2407, 2021 U.S. Dist. LEXIS

44633 at *31 (N.D. Ohio March 10, 2021).

       60.     Second, Sections 264 and 70.2 permit the CDC to act only if it first

“determines that the measures taken by” a state “are insufficient to prevent the

spread” of a communicable disease “from such State . . . to any other State.” 42 C.F.R.

§ 70.2.      But here, the CDC has made no such determination. Rather, the Mask

Mandate recites a broad statement:

               Any state or territory without sufficient mask-wearing
               requirements for transportation systems within its
               jurisdiction has not taken adequate measures to prevent
               the spread of COVID-19 from such state or territory to any
               other state or territory.


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86 Fed. Reg. 8029.

      61.    This utterly fails to identify measures taken by a particular state, or any

state at all, much less how those measures are insufficient.

      62.    Third, the CDC’s reading of its authority under 42 U.S.C. § 264 is

divorced from context. The statute gives the CDC the authority to “make and

enforce such regulations as in [its] judgment are necessary to prevent the

introduction, transmission, or spread of communicable diseases from foreign

countries into the States or possessions, or from one State or possession into any

other State or possession.” 42 U.S.C. § 264(a). However, the next sentence of the

statute clarifies that to “carry[] out and enforc[e]” those regulations, the CDC is

authorized to conduct “such inspection, fumigation, disinfection, sanitation, pest

extermination, destruction of animals or articles found to be so infected or

contaminated as to be sources of dangerous infection to human beings, and other

such measures, as in [CDC’s] judgment may be necessary.” Id. This “second

sentence [of Section 264(a)]        operates to limit CDC’s enforcement and

implementation authority to only those actions resembling ‘inspection, fumigation,

disinfection, . . . [and] pest extermination.” Florida v. Becerra, Case No. 8:21-cv-839,

2021 U.S. Dist. LEXIS 114297, *55 (M.D. Fla. June 18, 2021) (Merryday, D.J.) As such,

the second sentence “discloses, illustrates, exemplifies, and limits to measures



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similar in scope and character the measures contemplated and authorized by

Congress when enacting the statute.” Id. (citing Yates v. United States, 574 U.S. 528,

546 (2015)). Clearly, mandating that every person setting foot in an airport, bus

terminal, train station, aircraft, bus, train, or ship wear a mask over his or her nose

and mouth exceeds the scope of that limiting language.

      63.    Fourth, 42 C.F.R. §§ 71.31(b) and 71.32(b), rather than assist Defendants’

sweeping power grab, only serve to illustrate the limited scope of the CDC’s

statutory and regulatory authority. Section 71.31(b) provides:

             The [CDC] may require detention of a carrier until the
             completion of the measures outlined in this part that are
             necessary to prevent the introduction or spread of a
             communicable disease. The [CDC] may issue a controlled
             free pratique to the carrier stipulating what measures are
             to be met, but such issuance does not prevent the periodic
             boarding of a carrier and the inspection of persons and
             records to verify that the conditions have been met for
             granting the pratique.

      64.    But again, the Mask Mandate divorces this provision from context. The

meaning of this section is clarified by Section 71.31(a), which addresses a carrier’s

“arrival at a U.S. port. . . .” It is further clarified by the reference in Section 71.31(b)

to a “controlled free pratique,” which means “permission for a carrier to enter a U.S.

port, disembark, and begin operation under certain stipulated conditions.” 42 C.F.R.

§ 71.1(b). Clearly, then, Section 71.31(b) refers to the CDC’s authority to detain a

carrier that is suspected of harboring persons, articles, or things that present a risk


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of communicable disease, or to grant leave to the carrier to enter a U.S. port under

certain conditions. That is a far cry from authorizing the CDC to require every

person entering a conveyance, anywhere in the U.S., or anywhere in the world where

a person is en route to the U.S., to wear a mask.

      65.    Section 71.32(b) provides that, whenever the CDC “has reason to believe

that any arriving carrier or article or thing on board the carrier is or may be

contaminated with a communicable disease,” the CDC “may require detention,

disinfection, disinfestation, fumigation, or other related measures. . . .” This clearly

relates back to the second sentence of 42 U.S.C. § 264(a) – i.e., it illustrates how

narrow and limited the CDC’s authority actually is. It certainly does not confer the

broad, sweeping power assumed by Defendants in regard to the Mask Mandate.

                                      COUNT II

                      Failure to Provide Notice and Comment

                               (Violation of the APA)

      66.    Plaintiffs incorporate the allegations of paragraphs 1 through 54, and

further allege:

      67.    Even if the Mask Mandate falls within the CDC’s statutory authority

under 42 U.S.C. § 264(a), the APA required Defendants to provide notice of, and

receive comment on, the Mask Mandate. See 5 U.S.C. § 533.




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      68.    Without specifically citing the “good cause” exception of 5 U.S.C. §

553(b)(B), Defendants lean on the year-old “emergency” of COVID-19 to claim that

the Mask Mandate is not a “rule” within the meaning of the APA. 86 Fed. Reg. at

8030. As a result, Defendant did not even invite comments, much less provide for a

notice and comment interval.

      69.    First, the Mask Mandate is clearly a “rule” within the meaning of the

APA, because it prescribes law (the Mandate literally instructs carriers and

transportation hub operators to inform passengers that failure to properly wear a

mask constitutes a “violation of Federal law,” 86 Fed. Reg. at 8026, even though no

corresponding statute exists), and marks the consummation of an agency decision-

making process that determines rights or obligations and/or constitutes action from

which legal consequences will flow. See 5 U.S.C. § 551(4); Florida v. Becerra, 2021 Dist.

LEXIS 114297 at *110 (citations omitted).

      70.    Second, the “good cause” exception of 5 U.S.C. § 553(b)(B), which

Defendants have only tacitly invoked, is to be “narrowly construed and only

reluctantly countenanced,” and only “excuses the APA’s notice-and-comment

procedures in an ‘emergency situation.’” Becerra, supra at *123 (citations omitted).

      71.    Good cause does not exist when the agency has sufficient time to

provide notice and comment. HHS declared COVID-19 a public health emergency

early in 2020, and yet did not promulgate the Mask Mandate until early 2021,


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practically a year later. If the COVID-19 pandemic presented a national emergency

in early 2020, that emergency had long passed by early 2021. As noted by this Court

in Becerra, “[i]f the existence of a communicable disease alone permitted CDC to find

‘good cause,’ CDC would seldom, if ever, need to comply with the statutory

requirement for ‘good cause’ to dispense with notice and comment.” Becerra, supra

at *126.

                                     COUNT III

                      Arbitrary and Capricious Agency Action

                               (Violation of the APA)

      72.    Plaintiffs incorporate the allegations of paragraphs 1 through 54, and

further allege:

      73.    Under the APA, a court must “hold unlawful and set aside agency

action” that is “arbitrary [or] capricious,” as Defendants’ actions are here. 5 U.S.C. §

706(2)(A).

      74.    First, Defendants disregarded the fact that a protocol already exists

under the Federal Aviation Act, and regulations promulgated thereunder by the

Federal Aviation Administration (the “FAA”), which address an air carrier’s ability

to refuse boarding to a passenger based on a threat of communicable disease. See 49

U.S.C. § 44902(b); 14 C.F.R. §§ 382.21 and 382.19(c)(1)-(2). The regulatory regime

promulgated by the FAA is comprehensive, and the FAA – which is responsible for


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interpreting and enforcing statutes governing flight operations – apparently did not

deem it necessary to update or amend those regulations during the nearly one-year

period from the onset of the COVID-19 pandemic to the date of the Mask Mandate.

      75.    Second, an agency “must examine the relevant data and articulate a

satisfactory explanation for its action, including a rational connection between the

facts found and the choice made.” Encino Motorcars, LLC v. Navarro, 136 S. Ct. 2117,

2125 (2016). Here, Defendants failed to articulate why the Mask Mandate was

needed, what specific State measures were inadequate, and why the exemptions

under the Mask Mandate were not arbitrarily selected.

      76.    As noted above, for example, Defendants provide no epidemiological

basis for drawing the line for exemptions for children at age 2 and under, whereas

the WHO recommends against masking children age 5 and under, and recommends

that children ages 6-11 wear masks only under limited circumstances. The Mask

Mandate also fails to articulate whether any safety data respecting the effects of long-

term mask use for persons of all ages was considered.            The Mandate’s only

exemption for disabilities is for persons “who cannot wear a mask, or cannot safely

wear a mask, because of the disability. . . .” 86 Fed. Reg. at 8027. This fails to take

into account persons such as Plaintiffs Daza and Pope, who suffer from anxiety,

headaches, and shortness of breath when wearing a mask. Defendants also fail to

address the FDA’s own uncertainty regarding the efficacy of masks for the general


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public, as well as concerns regarding the safety of wearing masks for extended

periods of time.

      77.    Defendants also ignore the fact that the travel industry was, up until the

time of the Mask Mandate, effectively self-regulating, and the Mask Mandate

contains no finding to the contrary. The Mandate forecloses carriers from adjusting

to changing circumstances, and from offering alternative solutions.

      78.    Third, the Mask Mandate fails to show that Defendants considered less

burdensome alternatives. For example, existing Federal Air Regulations provide

guidance for airlines to determine whether they may deny boarding to a passenger

based on a “direct threat” of infectious disease.         See 14 C.F.R. §§ 382.21 and

382.19(c)(1)-(2).

                                      COUNT IV

                    Unconstitutional Delegation of Legislative Power

            (Violation of U.S. Const. Art. I, § 1 as to the Mask Mandate)

      79.    Plaintiffs incorporate the allegations of paragraphs 1 through 54, and

further allege:

      80.    Article I, Section 1 of the U.S. Constitution provides that “[a]ll legislative

powers herein granted shall be vested in a Congress of the United States.” In other

words, only Congress can make laws.




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        81.    If the Mask Mandate does not exceed Defendants’ authority under 42

U.S.C. § 264 and its related regulations, then Section 264 constitutes an

unconstitutional delegation of legislative authority to the Executive Branch, which

afforded the CDC the power to determine the rights of every person engaged in

interstate travel, and to make a sweeping policy decision without any meaningful

accountability to the electorate.

                                        COUNT V

                     Unconstitutional Exercise of Legislative Power

              (Violation of U.S. Const. Art. I, § 1 as to the Executive Order)

        82.    Plaintiffs incorporate the allegations of paragraphs 1 through 54 and 80,

and further allege:

        83.    The Executive Order constitutes an unconstitutional exercise of

legislative power by the Executive Branch, in that it is not authorized by any statute,

and indeed does not even deign to cite any statutory basis.

        84.    The Executive Order does not cite any national emergency, nor could it.

No such emergency existed at the time that the Executive Order was entered. By

then, the COVID-19 pandemic had affected travel in the United States for nearly a

year.

        85.    Congress could have enacted legislation requiring the wearing of masks

on public conveyances during the year that preceded the Executive Order, but


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Congress did not do so. No provision of Article II allows a President to enact

nationwide edicts, merely because the Legislative Branch has failed to enact

legislation that the President would prefer.

      86.     The Executive Order is unprecedented in its breadth and impact. Never

before has a President of the United States entered an executive order mandating

that every citizen of the Republic be required to don a type of garment or device,

whether when traveling or otherwise, for any reason whatsoever.

      87.     The Executive Order contains no expiration date or sunset provision,

and fails to provide any guidance as to when or under what conditions it may be

deemed to have expired.

                                    COUNT VI

                         Violation of Separation of Powers

            (Violation of Amendment X to the United States Constitution)

      88.     Plaintiffs incorporate the allegations of paragraphs 1 through 54, and

further allege:

      89.     The Tenth Amendment to the United States Constitution provides that

“[t]he powers not delegated to the United States by the Constitution, nor prohibited

by it to the States, are reserved to the States respectively, or to the People.” U.S.

Const. Am. X.




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      90.      The Executive Order impedes on the traditionally-recognized

prerogative of the States to protect the public health of their inhabitants under their

general police power. The public health power, including the power to quarantine,

is still understood as a function of state police power, with the federal role being

limited to measures that are “distinctly limited in time, scope, and subject matter.”

Becerra, supra at *43-44.

      91.      The Executive Order contains no finding that the public health

authority of the States has been somehow inadequate, and contains no finding

explaining why, at this late stage in the pandemic, action by the Federal government

is suddenly warranted or necessary.

      92.      As such, the Executive Order violates the Separation of Powers between

the States and the Federal Government.

                                  PRAYER FOR RELIEF

      For the foregoing reasons, Plaintiffs ask the Court to:

      a) Enter a declaratory judgment holding the Mask Mandate as unlawful

            and/or unconstitutional, and set it aside.

      b) Enter a declaratory judgment holding the Executive Order as

            unconstitutional, and set it aside.

      c) Award Plaintiffs their reasonable costs and attorney’s fees.

      d) Award such other relief as the Court deems equitable and just.


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                               JURY TRIAL DEMAND

      Plaintiffs demand a trial by jury for all matters so triable.

Filed this 12th day of July, 2021.
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